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                               EXHIBIT D

                                  TO
DECLARATION OF STEVEN A. MILLS IN SUPPORT OF DEFENDANTS’
    MOTION TO DISMISS THE THIRD AMENDED COMPLAINT
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From:            Mills, Steven (CAT)
To:              "Vasudha Talla"
Cc:              George, John (CAT); Murphy, Kaitlyn (CAT); Gradilla, Miguel (CAT); Wang, Edmund (CAT); jdo@aclunc.org;
                 wfreeman@aclunc.org; nkashyap@lccrsf.org; antim@lccrsf.org; skatovich@aclu.org; Vivake Prasad; Bianca
                 Herlitz-Ferguson
Subject:         RE: Coalition v. CCSF - Third-Party Service
Date:            Wednesday, December 18, 2024 1:15:56 PM



Hello Vasudha,

Thank you very much for this information. We appreciate the helpful context. This email will
confirm service of the subpoena on Shelsey Wiley as of today.

Can you provide additional information for how Plaintiffs are intending to facilitate service
going forward? This creates some concern that we may reach out to an individual that
Plaintiffs are seeking to represent and would like to mitigate that risk given that we intend to
move forward with our efforts to serve these individuals absent confirmation from you that
the Coalition was able to facilitate service. The Court denied the City’s motion to dismiss in
part on the basis of its understanding that Coalition was facilitating service. While we
appreciate that efforts are being taken, the small number of individuals on Plaintiffs’ likely
witness list that the Coalition was able to locate for service is not consistent with the Court’s
expectation and understanding. This has been just three out of the forty-seven individuals
identified.

We are hoping to have the process clarified this week because we previewed for the Court
that we intend to request alternative service. Hopefully there is a solution to avoid burdening
the court with motion practice, however, based on the current state it seems likely that we
will need to request relief to avoid any prejudice to the City. Would Plaintiffs be willing to
stipulate to a request for alternative service for the individuals on Plaintiffs’ witness likely
witness list that you have not been able to locate? This can be an item that we discuss at our
next meet and confer on December 19.

Best,

Steven

Steven Mills
Deputy City Attorney
Office of City Attorney David Chiu
(415) 355-3304 Direct
www.sfcityattorney.org

From: Vasudha Talla <vtalla@ecbawm.com>
Sent: Wednesday, December 18, 2024 7:51 AM
To: Mills, Steven (CAT) <Steven.Mills@sfcityatty.org>
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Subject: RE: Coalition v. CCSF - Third-Party Service

Counsel,

Thank you for your cooperation in seeking to facilitate service on Coalition members. We are
confirming our understanding that Plaintiffs are not currently representing any of these
individuals at this time and that Plaintiffs will notify us of any changes in representation. Until
we receive notice, we will continue our outreach efforts.

Shortly, you will be getting an FTP link with subpoenas for documents only. There are two
categories included in the link: (1) individuals that have been identified on Plaintiffs’ likely trial
witness list (excluding individuals we have already served); and (2) individuals that have been
disclosed that have not been designated as likely trial witnesses (excluding individuals we have
already served). For all of these individuals, we are seeking confirmation whether the Coalition
intends to represent the individuals (for purposes of this document subpoenas, future
depositions, or trial).

We’d also like to follow-up on Plaintiffs’ initial disclosures. On September 10, 2024, we
emailed Plaintiffs explaining that there are several individuals on the initial disclosure where
insufficient information is provided for us to be able to locate or identify the correct person to
serve. In that email, we sought information such as DOB, SSN, or Driver’s License Numbers. To
date, we have not received a response to that request. On December 5, 2024, we also
indicated in our email that there are individuals on Plaintiffs’ initial disclosure and likely trial
witness list where no contact information is provided. In the event that Plaintiffs are not
accepting service on behalf of witnesses, can you also confirm that you do not have any
additional contact information or identifying information?

With discovery deadlines looming, we are asking for clarification of these issues by the end of
this week. We remain willing to meet and confer to help streamline this process.

Thanks,

Steven

Steven Mills
Deputy City Attorney
Office of City Attorney David Chiu
(415) 355-3304 Direct
www.sfcityattorney.org

From: Mills, Steven (CAT)
Sent: Thursday, December 5, 2024 3:41 PM
To: 'John Do' <JDo@aclunc.org>; Bill Freeman <wfreeman@aclunc.org>; Nisha Kashyap
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<nkashyap@lccrsf.org>; Andrew Ntim <antim@lccrsf.org>; Scout Katovich <skatovich@aclu.org>;
'Vasudha Talla' <vtalla@ecbawm.com>; Vivake Prasad <VPrasad@ecbawm.com>; Bianca Herlitz-
Ferguson <bherlitz-ferguson@ecbawm.com>
Cc: George, John (CAT) <John.George@sfcityatty.org>; Murphy, Kaitlyn (CAT)
<Kaitlyn.Murphy@sfcityatty.org>; Gradilla, Miguel (CAT) <Miguel.Gradilla@sfcityatty.org>; Wang,
Edmund (CAT) <Edmund.Wang@sfcityatty.org>
Subject: Coalition v. CCSF - Third-Party Service

Counsel,

I write to facilitate service of third-party subpoenas to the individuals on Plaintiffs’ likely trial
witness list. To date, the City has expended significant time and resources trying to diligently
serve witnesses, but has been unsuccessful in serving many of the individuals on Plaintiffs’
likely witness list.

For the following individuals on Plaintiffs’ likely trial list, can you confirm whether the Coalition
intends to represent the individuals (for purposes of document subpoenas, depositions, or
trial) and whether you can accept service of process for them? If not, can you please let us
know what you are able to do to facilitate service going forward?

      Todd Bryant
      Shyhyene Brown
      Henrick Delamora
      Patrick Dubose
      Timothy Jones
      Shanna Couper Orona
      Joseph Williams
      Corey Barkley
      Krystle Erickson
      Pauline Wise
      Maurice Moran
      Andrew Douglass
      Sarah Stephenson
      William Skaggs
      Elizabeth Stromer
      James Reem
      Jeremy Bullington
      Jimmy Don Wheeler

We also note that Plaintiffs have not supplied any contact information for the individuals in
bold. Can you also confirm that you do not have any in the event that you do not have
authority to accept service on their behalf?
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We request a response to this email by Tuesday, December 10. I’m available on 12/11
between 9-1 for a meet and confer.

Thanks,

Steven

Steven Mills
Deputy City Attorney
Office of City Attorney David Chiu
(415) 355-3304 Direct
www.sfcityattorney.org
